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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DERRICK L. HAMILTON,                                )
                                                    )
                              Plaintiff,            )      Case No. 1:19-cv-00554
                                                    )
       v.                                           )      Honorable John Z. Lee
                                                    )
LOANCARE, LLC,                                      )      Honorable Susan E. Cox
                                                    )      Magistrate Judge
                              Defendant.            )

                 LOANCARE, LLC’S MOTION TO EXTEND DATE FOR
                “WITH PREJUDICE” DISMISSAL TO ALLOW PARTIES
                  ADDITIONAL TIME TO FINALIZE SETTLEMENT

       Defendant LoanCare, LLC (“LoanCare”), by its attorney Charles M. Baum, files its

Motion to Extend Date for “With Prejudice” Dismissal to Allow Parties Additional Time to

Finalize Settlement, as follows:

       1.      On April 26, 2022, this Court ruled on LoanCare’s Motion to Dismiss for Lack of

Subject Matter Jurisdiction and for Sanctions Pursuant to 28 U.S.C. § 1927 (Doc. 146), dismissing

the case without prejudice and giving Plaintiff an opportunity to file an amended complaint by

May 31, 2022, and ordering that if Plaintiff failed to do so, the dismissal would become “with

prejudice.” (Doc. 157.)

       2.      The Court’s order also provided that Plaintiff can only cure LoanCare’s claims of

sanctionable behavior by filing an amended complaint properly alleging an injury in fact. Id. The

Court thus struck LoanCare’s motion for sanctions without prejudice, noting that LoanCare may

revive this motion in the event Plaintiff does not so amend by May 31, 2022. Id.

       3.      On May 27, 2022, Plaintiff and LoanCare reached an agreement in principle

settling the matter, via written email communications as to material terms, which settlement was



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to be memorialized in a written settlement agreement agreeable to the parties.

       4.      As such, rather than Plaintiff filing an amended complaint and without LoanCare

reviving its motion for sanctions, Plaintiff filed a Notice of Settlement on May 31, 2022 which

anticipated completing dismissal and filing a stipulation of dismissal within 30 days. (Doc. 163.)

       5.      On June 1, 2022, based on the settlement, this Court dismissed this case without

prejudice, noting that the dismissal will convert to “with prejudice” on July 1, 2022. (Doc. 164.)

This order, presumably based on the assumption that the parties would finalize their settlement

in 30 days as reported in the filed Notice of Settlement, did not provide that LoanCare may revive

its motion for sanctions in the event of a dismissal with prejudice, as was permitted by the Court’s

prior order on the motion for sanctions. Id.

       6.      On June 8, 2022, counsel for LoanCare sent to Plaintiff’s counsel a proposed

Release and Settlement Agreement for review and comment.

       7.      As of the date of this motion, Plaintiff has neither executed the settlement

agreement nor responded with any edits.

       8.      LoanCare files this motion to preserve its right to revive its motion for sanctions,

which the Court explicitly reserved LoanCare’s right to do in the event of a dismissal with

prejudice (then, in the event that Plaintiff did not amend his complaint by the court-ordered

deadline of May 31, 2022).

       9.      LoanCare requests an extension to August 12, 2022 for the date on which the

Court’s dismissal would convert to “with prejudice.”

       10.     In the event LoanCare’s files of a notice subsequent to August 12, 2022 indicating

that the contemplated settlement was never finalized, LoanCare further requests an order that

LoanCare’s fully-briefed Motion for Sanctions Pursuant to 28 U.S.C. § 1927 (as included in Doc.



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146) is revived and shall proceed to ruling.

         11.   As this Court specifically ruled on April 26, 2022 that LoanCare may revive its

sanctions motion in the event of a dismissal with prejudice based on Plaintiff’s failure to amend

its complaint by May 31, 2022, and Plaintiff has not amended, a dismissal with prejudice based

on passage of time after the reported settlement should not diminish LoanCare’s right to proceed

on its motion for sanctions in the event no settlement is finalized. Otherwise stated, Plaintiff

should not be able to avoid LoanCare’s sanctions motion by promising settlement in principle

and then failing to finalize settlement.

         WHEREFORE, Defendant LoanCare, LLC respectfully requests that this Honorable

Court:

         A.    Extend to August 12, 2022 the date on which the Court’s dismissal would convert

               to “with prejudice” without further order;

         B.    Upon LoanCare’s filing of a notice subsequent to August 12, 2022 indicating that

               the contemplated settlement was never finalized, order that LoanCare’s fully-

               briefed Motion for Sanctions Pursuant to 28 U.S.C. § 1927 (as included in Doc.

               146) is revived and shall proceed to ruling; and

         C.    Order any other relief it deems appropriate.

Charles M. Baum (6226607)                            Respectfully, submitted,
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Chicago, IL 60603
T: (312) 223-2540                              By:   /s/ Charles M. Baum
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Atty No. (IL)




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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2022, I electronically filed the foregoing LoanCare, LLC’s
Motion to Extend Date for “With Prejudice” Dismissal to Allow Parties Additional Time to
Finalize Settlement with the Clerk of the Court using the CM/ECF system, which sends electronic
notification to all registered participants of such filings to all attorneys of record.


                                                 /s/ Charles M. Baum




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